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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
v.                                                 )   CASE NO. 09-CR-30084-WDS
                                                   )
MINTAI BEDFORD,                                    )
                                                   )
                      Defendant.                   )
                                                   )
                                                   )



                                            ORDER

STIEHL, District Judge:

       Before the Court is defendant’s pro se motion for return of items seized as part of this

criminal case. Specifically the defendant seeks currency taken from him by codefendant Randy

Wilson, a Nintendo Wii, and a Sony Playstation 3 (Doc. 274). The government has filed a

response to the motion (Doc. 279).

       In its response, the government indicates that the Sony Playstation 3 and Nintendo Wii, as

well as a glass jar containing $31.00 in coins, are being held by the Alton Police Department

pending possible appeal, and as of December 27, 2012, defendant’s period for filing a collateral

attack under 28 U.S.C. §2255 would expire, and the items could then be released to the defendant’s

mother. To date, no collateral attack has been filed. The government further represents that the

$1,081.00 in currency which the defendant claims was stolen from him by Randy Wilson is not in

the possession or control of the government or its agents. The record reveals that $1,166 was

seized from Randy Wilson and forfeited by separate order in the Circuit Court for the Third

Judicial Circuit, Madison County, Illinois, on November 18, 2009.

       Accordingly, the Court GRANTS in part and DENIES in part, defendant’s motion.
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The Court GRANTS the motion as to return of the Sony PlayStation 3 and Nintendo Wii, as well

as a glass jar containing $31.00 in coins, and DENIES the motion as to the claimed $1,081 seized

from Randy Wilson. Defendant’s mother or other representative shall contact the Alton Police

Department concerning the procedure for return of these items.



IT IS SO ORDERED.

DATE: 07 January, 2013
                                            /s/ WILLIAM D. STIEHL
                                                DISTRICT JUDGE




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